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                                                            U.S. Department of Justice

                                                            MATTHEW M. GRAVES
                                                            United States Attorney

                                                            District of Columbia


                                                            Judiciary Center
                                                            555 Fourth St., N.W.
                                                            Washington, D.C. 20530


                                                          February 7, 2022


Brandon Fellows
Inmate #377943
1901 D Street SE
Washington, DC 20003


        Re:     Pro Se Discovery 5 in United States v. Brandon Fellows
                Case No. 21-cr-83 TNM
Mr. Fellows:

         Enclosed you will find a letter regarding Global Discovery Production No. 11 along with an index
of items produced in this production. However, as stated in this letter and in previous letters, the
Government no longer intends to produce global productions through USAfx. All future global
productions will be produced through Relativity, a document review database. At this time, there isn’t a
plan in place yet to make Relativity available to pro se defendants. If this changes, you will be advised on
the procedure to access Relativity.

        In the interim, please, review the attached index and indicate which items you would like to
review. You may then send the marked index to your standby counsel Mr. Joseph R. Conte, who will
work with the Government to make the items available for you to review. If the items are highly
sensitive, you will need to have your standby counsel or his delegate present with you for that review.

        The Government will continue to provide individual discovery as it becomes available in addition
to any future global discovery that you are allowed to view with supervision. If you have any questions,
please feel free to contact me at mona.furst@usdoj.gov or 316-269-6537.

                                                          Sincerely,

                                                          /s/ Mona Lee M. Furst
                                                          Mona Lee M. Furst
                                                          Assistant United States Attorney
Enclosure(s)
cc: Joseph R. Conte
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